                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


 CONCORD MUSIC GROUP, INC., et. al.,

                                Plaintiffs,              Case No. 3:23-cv-00606

                v.                                       Hon. Aleta A. Trauger

 X CORP., D/B/A TWITTER,

                                Defendant.




                 DECLARATION OF JESSICA A. ROSE IN SUPPORT OF
                        X CORP.’S MOTION TO DISMISS


I, Jessica A. Rose, declare as follows:

       1.      I am an attorney at the law firm of Quinn Emanuel Urquhart & Sullivan, LLP,

counsel of record for Defendant X Corp. (“X”). I am a member in good standing of the Bar of the

State of New York, and am admitted pro hac vice in this action. I submit this declaration in support

of X’s motion to dismiss the Complaint. I have personal knowledge of the facts set forth herein

and, if called as a witness, I could and would testify competently to them.

       2.      Attached hereto as Exhibit A is a true and correct copy of portions of X’s Terms

of Service, the contents of which were published on and made publicly accessible at the URL

https://twitter.com/en/tos,         https://help.twitter.com/en/rules-and-policies/copyright-policy,

https://help.twitter.com/en/rules-and-policies/fair-use-policy,   https://help.twitter.com/en/rules-




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and-policies/twitter-report-violation, and https://help.twitter.com/en/forms/ipi/dmca. I caused

these URLs to be visited, and this document printed, on August 9, 2023.



       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.

       Executed in East Hampton, New York on August 14, 2023.




                                                    Jessica A. Rose




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